Ca

oo UO NSN OY

‘10

11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

paula.pearlman@lls.edu
shawna.parks@lls.edu
debra.patkin@lls.edu
matthew.strugar@lls.edu

919 Albany Street
Los Angeles, California 90015

MARITZA SANCHEZ MARTINEZ,
an individual, by and through her
mother and guardian ad litem,
BERTHA MARTINEZ, BERTHA
MARTINEZ, an individual, and
WENDY SANCHEZ, an individual

Plaintiffs,
Vv.

CITY OF MAYWOOD, a public
entity, MAYWOOD POLICE
DEPARTMENT, a public entity,
COUNTY OF LOS ANGELES, a
public entity, ANDREW SERRATA,
an individual, MPD OFFICER
GARCIA, an individual, DAVID
ISHIBASHI, an individual, and Does
1 through 10, individuals sued in their
individual capacities, inclusive

Defendants.

Pa oii

eP To

 

fe 2:09-cv-06734-SJO-RC Document 4 Filed 09/22/09 Page 1of 34 Page ID #13

PAULA D. PEARLMAN, State Bar No. 109038
SHAWNA L. PARKS, State Bar No. 208301
DEBRA J. PATKIN, State Bar No. 252197
MATTHEW D. STRUGAR, State Bar No. 232951

DISABILITY RIGHTS LEGAL CENTER

Tel: (213) 736-1031 * Fax: (213) 736-1428

Attorneys for Plaintiffs (continued on next page)

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT
“Fp

et
; i
i sd 3
f =x
54, ow
rm? a fT
Cte TO “4
ae. no =e
pent er
ea Mm T
i Lint 3 mM
t poy RF
nes oe y
Me Ry
po ae
oO .
ce =
a OF
—

BUEN 06754 sig Ou

COMPLAINT FOR INJUNCTIVE
RELIEF, DECLARATORY
JUDGMENT AND DAMAGES

1. Americans with Disabilities Act,
Title II (42 U.S.C. § 12131 et. seq.)

2. Section 504 of the Rehabilitation
Act of 1973 (29 U.S.C. § 794 et.

seq.
. Etitecnh Amendment (42 U.S.C.
abifornia Government Code §
. Unruh Civil Rights Act (Cal. Civ.
Code § 51 et. seq.)
. California Disabled Persons Act
(Cal. Civ. Code §54)
. Infliction of Emotional Distress
. Negligent Infliction of Emotional
Distress
. Negligence

DEMAND FOR JURY TRIAL

 

 

*
we

Luby

 

 

COMPLAINT FOR INJUNCTIVE RELIEF, DECLARATORY RELIEF AND DAMAGES

-1-

 
Ca!

& Ww

Oo fo ss A

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

7

paula.pearlman@ils.edu
shawna.parks@lls.edu
debra.patkin@lls.edu
matthew.strugar@lls.edu

919 Albany Street

Los Angeles, California 90015
Tel: (213) 736-1031

Fax: (213) 736-1428

MARITZA SANCHEZ MARTINEZ,
an individual, by and through her
mother and guardian ad litem,
BERTHA TINEZ, an individual,
and WENDY SANCHEZ, an
individual

Plaintiffs,
Vv.

CITY OF MAYWOOD, a public
entity, MAYWOOD POLICE
DEPARTMENT, a public entity,
COUNTY OF LOS ANGELES, a
public entity, ANDREW SERRATA,
an individual, MPD OFFICER
GARCIA, an individual, DAVID
ISHIBASHI, an individual, and Does
1 through 10, individuals sued in their
individual capacities, inclusive

Defendants.

SHAWNA L. PARKS, State Bar No. 208301

DEBRA J. PATKIN, State Bar No. 252197

DISABILITY RIGHTS LEGAL CENTER

 

He 2:09-cv-06734-SJO-RC Document 4 Filed 09/22/09 Page 2 of 34 Page ID #:14

PAULA D. PEARLMAN, State Bar No. 109038

MATTHEW D. STRUGAR, State Bar No. 232951

Attorneys for Plaintiffs (continued on next page)

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

CASE NO.

COMPLAINT FOR INJUNCTIVE
RELIEF, DECLARATORY
JUDGMENT AND DAMAGES

1. Americans with Disabilities Act,
Title IT (42 U.S.C. east et. seq.)

2. Section 504 of the Rehabilitation
Act of 1973 29 ULS.C. § 794 et.

seq.
. Etitecnth Amendment (42 U.S.C.
‘ alifornia Government Code §
. Unruh Civil Rights Act (Cal. Civ.
Code § 51 et, seq.)
. California Disabled Persons Act
(Cal. Civ. Code §54) _
. Infliction of Emotional Distress
. Negligent Infliction of Emotional
Distress
9. Negligence

DEMAND FOR JURY TRIAL

 

 

 

COMPLAINT FOR INJUNCTIVE RELIEF, DECLARATORY RELIEF AND DAMAGES

 

 
O
©

oOo C68 Y BWA A &— WD VN

wm NHN NN NY ON ON NY NO BP SP SP SP RP Ol Sl lla lL lm
co a om A & |) NH KY& S&S Oo Se YD HR HH FP W NHN KY

se 2:09-cv-06734-SJO-RC Document4 Filed 09/22/09 Page 3 o0f34 Page ID #:15

Dy

CYNTHIA ANDERSON-BARKER, State Bar No. 175764
cablaw@hotmail.com

LAW OFFICES OF CYNTHIA ANDERSON-BARKER
3435 Wilshire Blvd., Ste 2900, Los Angeles, CA 90010
Tel: (213) 381-3246

Fax: (213) 252-0091

 

COMPLAINT FOR INJUNCTIVE RELIEF, DECLARATORY RELIEF AND DAMAGES

-2-

 

 

 
O
©

oOo oOo NN DWN UH Ff WwW NS

No nN BO bo tw bBo bh pb we — —_ — — A pasa _ re bent _
oO ~~] aN LA > ioe) No er So i] oo ~ nN tA ae lo NM — oo

Dy

HE 2:09-cv-06734-SJO-RC Document 4 _ Filed 09/22/09 Page 4 of 34 Page ID #:16

 

JURISDICTION AND VENUE
1, The claims alleged herein arise under the Americans with Disabilities Act (42
U.S.C. § 12131 et seg.) (“ADA”), Section 504 of the Rehabilitation Act of 1973 (29
U.S.C. § 794) (“Rehabilitation Act”), the Fourteenth Amendment to the United
States Constitution, 42 U.S.C. § 1983 et. seg., and state and common law claims for
relief, such that the jurisdiction of this Court is invoked pursuant to 28 U.S.C. §§
1331 and 1343. Through the same actions omissions that form the basis of
Plaintiffs’ federal claims, Defendants have also violated Plaintiffs’ rights under state
law, over which this Court has supplemental jurisdiction pursuant to 28 U.S.C. §
1367. This Court has jurisdiction over Plaintiffs’ claims for declaratory relief
pursuant to 28 U.S.C. §§ 2201 and 2202.
2. Venue is proper under 28 U.S.C. § 1391 in the United States District Court
for the Central District of California because the events, acts, and omissions giving
rise to the claim occurred within the Central District of California and because all
parties are residents of the Central District of California.

INTRODUCTION

3. Plaintiff Maritza Sanchez Martinez (“Maritza”), together with her mother
Plaintiff Bertha Martinez (“Bertha”), and her sister Plaintiff Wendy Sanchez
(“Wendy”), bring this suit against Defendants City of Maywood, Maywood Police
Department, County of Los Angeles, Maywood Police Officers Andrew Serrata and
Garcia, and Los Angeles District Attorney’s Bureau of Investigation Senior
Investigator David Ishibashi, among others, for failing to provide Plaintiff Maritza
with appropriate accommodations and/or services in light of her mental disability,
including by intentionally separating her from her mother, and forcing her to remain
in soiled clothing for more than two hours. Plaintiffs further bring this suit against
Defendants for failing to adopt and enforce appropriate policies and procedures that
provide for reasonable accommodations for persons with mental disabilities during

police searches and investigations.

 

COMPLAINT FOR INJUNCTIVE RELIEF, DECLARATORY RELIEF AND DAMAGES

-3-

 

 
O
©

Oo Oo SON OH OUR UN

Nw MM NM NY NH BB YY NBO ee RB Se OO SE Sl lL lhlhULhL lr
co ~DT QR A & WH BH &-& CO WO Ce SND DH A SF YH NY KS CC

hoe

Be 2:09-cv-06734-SJO-RC Document 4 Filed 09/22/09 Page 5 of 34 Page ID #:17

4. Defendants’ employees and agents, with knowledge of Plaintiff Maritza’s
severe autism and mental retardation and total dependence on her mother,
intentionally separated Plaintiff Maritza from her mother during an execution ofa
search warrant at their home and left Plaintiff Maritza in isolation and with no
support. Plaintiff Maritza was left alone in an uncontrollably upset state for hours.
As a result, Plaintiff Maritza now suffers from extreme fright, emotional distress,
humiliation and lack of sleep.

5. Defendants, and their agents and employees, further discriminated against
Plaintiffs Bertha and Wendy, based on Plaintiff Maritza’s mental disability, by
purposefully separating Plaintiff Maritza from her mother in order to cause Plaintiffs
emotional distress. Defendants used Plaintiff Maritza’s needs as an individual with
autism as leverage against Plaintiff Bertha in an attempt to force information from
Plaintiff Bertha, resulting in severe fright, indignity, humiliation, and severe mental
and emotional distress for Plaintiffs Bertha and Wendy.

6. Defendants further discriminated against Plaintiffs based on Plaintiff
Maritza’s severe mental disability by interfering with Plaintiffs’ rights under federal
and state law, and under the Constitution of the United States, through the use of
coercion and threats.

7. Defendants failed to make necessary modifications in policies, practices and
procedures in order to avoid discrimination against Plaintiffs on the basis of Plaintiff
Maritza’s mental disability. Defendants failed to train or supervise their officers and
employees to provide persons with mental disabilities and their families’ reasonable
accommodations. Further, Defendants intentionally discriminated against Plaintiffs
on basis of Plaintiff Maritza’s disability.

8. Plaintiffs bring this action seeking declaratory and injunctive relief in order to
compel Defendants to comply with their obligations to provide reasonable

accommodations, and otherwise not discriminate against people with disabilities.

 

COMPLAINT FOR INJUNCTIVE RELIEF, DECLARATORY RELIEF AND DAMAGES

4.

 

 

 
 

O
©

Oo © NY DO A POU

tw BN NO No tw ho i] No bd be — 4 — jo — bent —_ re —_
oo ~~ oN Un a to bho re oS \O co ~] aN aA a a bo — o

He 2:09-cv-06734-SJO-RC Document 4 Filed 09/22/09 Page 6of34 Page ID #:18

 

Plaintiffs also seek compensatory and statutory damages in addition to their
attorneys’ fees and costs.

PARTIES
9. Plaintiff Maritza is a 22-year-old woman who has severe autism and mental
retardation. She is the daughter of Plaintiff Bertha, and sister of Plaintiff Wendy.
At all times relevant to this Complaint, Plaintiff Maritza has resided in Maywood,
California. By virtue of having severe autism with mental retardation, Plaintiff
Maritza at all times relevant hereto is an individual with a disability within the
meanings of the Americans with Disabilities Act, Section 504 of the Rehabilitation
Act, Sections 11135 and 12926 of the California Government Code, and Sections 51
and 54 of the California Civil Code.
10. Plaintiff Bertha is a 45-year-old-woman who is Plaintiff Maritza’s mother.
Plaintiff Bertha is an individual associated with an individual with a disability
within the meaning of the Americans with Disabilities Act, Section 504 of the
Rehabilitation Act, and California state law. She resided in Maywood, California at
all times relevant to this Complaint.
li. Plaintiff Wendy is a 26-year-old woman and is Plaintiff Maritza’s sister and
Plaintiff Bertha’s daughter. Plaintiff Wendy is an individual associated with an
individual with a disability within the meaning of the Americans with Disabilities
Act, Section 504 of the Rehabilitation Act, and California state law. She resided in
Maywood, California at all times relevant to this complaint.
12. Defendant City of Maywood (“City”) is a municipal corporation organized
and existing under the laws of the state of California. Defendant City is a “person”
subject to suit within the meaning of 42 U.S.C. § 1983 under Monell v. New York
Dept. of Soc. Servs., 436 U.S. 658, 691 (1978). Under California Government Code
§ 815.2(a), Defendant City is liable for any and all wrongful acts in violation of state
jaw hereinafter complained of committed by any of Defendant City’s employees

acting within the course and scope of their employment. At all times relevant to this

 

COMPLAINT FOR INJUNCTIVE RELIEF, DECLARATORY RELIEF AND DAMAGES

-5-

 

 
Cag

bo

Ceo fF SN BO AH Ee BH

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

5

 

 

e 2:09-cv-06734-SJO-RC Document4 Filed 09/22/09 Page 7 of 34 Page ID #:19

Complaint, Defendant City was a public entity within the meaning of Title II of the
Americans with Disabilities Act and receives federal financial assistance within the
meaning of the Rehabilitation Act, and state financial assistance within the meaning
of Government Code 11135.

13. Defendant Maywood Police Department (“MPD”) is a public entity under the
laws of the state of California, and is an agency of Defendant City. Defendant MPD
is a “person” subject to suit within the meaning of 42 U.S.C. § 1983 under Monell v.
New York Dept. of Soc. Servs., 436 U.S. 658, 691 (1978). Under California
Government Code § 815.2(a), Defendant MPD is liable for any and all wrongful
acts in violation of state law hereinafter complained of committed by any of
Defendant MPD’s employees acting within the course and scope of their
employment. At all times relevant to this Complaint, Defendant MPD was a public
entity within the meaning of Title II of the Americans with Disabilities Act and
receives federal financial assistance within the meaning of the Rehabilitation Act,
and state financial assistance within the meaning of Government Code 11135.

14. Defendant County of Los Angeles (“County”) is a municipal corporation
organized and existing under the laws of the state of California. The Los Angeles
County District Attorney’s Office Bureau of Investigation is Defendant County’s
law enforcement agency. Defendant County is a “person” subject to suit within the
meaning of 42 U.S.C. § 1983 under Monell v. New York Dept. of Soc. Servs., 436
U-S. 658, 691 (1978). Under California Government Code § 815.2(a), Defendant
County is liable for any and all wrongful acts in violation of state law hereinafter
complained of committed by any of Defendant County’s employees acting within
the course and scope of their employment. At all times relevant to this Complaint,
Defendant County was a public entity within the meaning of Title II of the
Americans with Disabilities Act and receives federal financial assistance within the
meaning of the Rehabilitation Act, and state financial assistance within the meaning

of Government Code 11135.

 

COMPLAINT FOR INJUNCTIVE RELIEF, DECLARATORY RELIEF AND DAMAGES

-6-

 
Cag

BR WwW Ww

Oo CoO SS DH LA

10
1
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

 

e 2:09-Cv-06734-SJO-RC Document 4 Filed 09/22/09 Page 8 of 34 Page ID #:20

15. Defendant Andrew Serrata (“Serrata”), at all time relevant to this complaint,
was a police officer for the MPD. He is being sued in his individual capacity.
16. Defendant Garcia (“Garcia), at all time relevant to this complaint, was a
police officer for the MPD. He is being sued in his individual capacity.
17. Defendant David Ishibashi (“Ishibashi”), at all time relevant to this complaint.
He was an Investigator for the Los Angeles District Attorney’s Bureau of
Investigation. He is being sued in his individual capacity.

FACTS APPLICABLE TO ALL PLAINTIFFS
18. Each and every allegation set forth in each and every statement of the
Complaint is hereby incorporated by reference in each and every other averment and
allegation of this complaint.
19. Plaintiffs Maritza resided in Maywood, California with her mother, Plaintiff
Bertha, and her sister, Plaintiff Wendy, and her cousin Joaquin Olvera, at the time of
the incidents giving rise to this suit. Plaintiff Maritza has severe autism and mental
retardation and depends entirely on her mother and sister for care and support.
20. Plaintiff Maritza falls within the severely autistic range and has mental
retardation. She requires constant supervision due to the severity of her disability.
She is entirely dependant upon her mother for her care, comfort and basic life needs.
She is unable to speak. She exhibits feelings of unhappiness or distress by crying,
shaking and screaming. Depending on the context and situation, Plaintiff Maritza
functions essentially like a one to six year old child.
21, Plaintiff Bertha is Plaintiff Maritza’s primary care giver. Plaintiff Bertha
stays at home in order to care for Plaintiff Maritza. Plaintiff Bertha provides
Plaintiff Maritza with all of her care, comfort, and basic life needs including
cooking, cleaning, dressing, bathing and other hygienic measures, making
appointments, providing social and emotional support, and making sure that Plaintiff

Maritza is in a safe and secure environment.

 

COMPLAINT FOR INJUNCTIVE RELIEF, DECLARATORY RELIEF AND DAMAGES

-7-

 

 
Ca

Aine

Oo oO ~ ND vA

10
il
12
13
14
15
16
17
18
19
20
21
22
23
24
25

~ 26

27
28

Dy

 

e 2:09-Cv-06734-SJO-RC Document 4 Filed 09/22/09 Page 9 of 34 Page ID #:21

22. Prior to the incident of August 25, 2008, Plaintiff Maritza usually slept well.
Her communication skills were improving and she was able to follow simple
instructions. Plaintiff Maritza generally had no trouble going out to places such as
restaurants and stores. She was happy most of the time.

23. Onor about August 20, 2008, in the early morning hours, police officers from
the Maywood Police Department and the Los Angeles County Sheriff's Department
Task Force arrived at Plaintiffs’ home, where Plaintiff Maritza was present with her
mother (Plaintiff Bertha), her father (Gaudencio Sanchez Lopez), her sister (Plaintiff
Wendy), and her cousin (Joaquin Olvera). The Maywood police officers executed a
search warrant with rifles drawn, and took Mr. Sanchez Lopez into custody. The
police officers present included Defendant Serrata from the Maywood Police
Department, numerous officers from the Los Angeles County Sheriff's Department
Task Force, and Defendant Ishibashi, an investigator for the Los Angeles District
Attorney’s Bureau of Investigation.

24. During the incident, Plaintiff Maritza and her family were forced to stand
outside their house for more than three hours. Plaintiff Maritza was nervous during
the incident, but she was not terribly upset even though her father was arrested. She
was never left alone.

25. Plaintiff Maritza was separated from her mother, Plaintiff Bertha, for
approximately ten minutes while her mother was interrogated. Plaintiff Wendy was
with her while she was separated from her mother. Plaintiff Bertha, Plaintiff
Wendy, and Joaquin spoke to the police and answered their questions without
incident.

26. During the incident, the officers, including Defendants Serrata and Ishibashi,
were informed that Plaintiff Maritza was autistic and severely disabled.

27. Onor about August 25, 2008, at approximately 1la.m., Defendant Serrata,
Defendant Ishibashi and numerous unidentified officers from the Los Angeles

County Sheriff's Department returned to Plaintiffs’ home with a search warrant.

 

COMPLAINT FOR INJUNCTIVE RELIEF, DECLARATORY RELIEF AND DAMAGES

-8-

 

 
Cas

& WW bt

Oo Ss ~s HN

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

 

 

2:09-cv-06734-SJO-RC Document 4 Filed 09/22/09 Page 10 of 34 Page ID #:22

Only Plaintiff Bertha, Plaintiff Maritza and Joaquin were at home. At the time the
warrant was executed, Gaudencio Sanchez Lopez was in custody. Plaintiff Wendy
was at work.

28. Defendants Serrata and Ishibashi were clearly aware of Plaintiff Maritza’s
autism and mental retardation because they were informed by the family during the
search of the house and the arrest of Mr. Sanchez Lopez five days earlier, because
Plaintiff Bertha told them again on the day of the second search, and because
Maritza’s autism and mental retardation was apparent from her behavior that day.
29, Plaintiff Maritza began to become upset from the moment the police arrived
this time. She was terrified, holding onto her mother. In such situations when she is
suddenly surrounded by large number of people she does not know, Plaintiff
Maritza can become distressed.

30. About thirty minutes into the incident, Defendant Serrata separated Plaintiff
Bertha from her daughter, Plaintiff Maritza. Plaintiff Bertha informed the officers
that her daughter should not be separated from her on account of her disability.
Ignoring Plaintiff Bertha’s request for an accommodation for her daughter, the
officers separated Plaintiff Bertha and Plaintiff Maritza by taking Plaintiff Maritza
to the front of the house, and Plaintiff Bertha to the backyard. Defendants ignored
this request despite the fact that that all Plaintiff Bertha was asking for was a simple
accommodation for her daughter, essentially to stay with Plaintiff Bertha during the
interrogation because there was no other caregiver to ensure her safety and security.
Defendants did not identify any reason for denying this simple request.

31. While the police were interrogating Plaintiff Bertha, they left Plaintiff Maritzal
alone and frightened. Plaintiff Maritza was detained in the front yard crying,
shaking, and screaming.

32. The police officers could have questioned Plaintiff Bertha in Plaintiff

Martiza’s presence without Plaintiff Maritza interfering with the questioning.

 

COMPLAINT FOR INJUNCTIVE RELIEF, DECLARATORY RELIEF AND DAMAGES

-9-

 
Cad

Oo 8 WY OW wv & WY NHN

NM BN NR RD ND BD RD OR ee
co st fw tA SB YW NHN & CO DO oO SD BH AH FF YW WH YF &

 

,

P 2:09-cv-06734-SJO-RC Document 4 Filed 09/22/09 Page 11o0f34 Page ID #:23

33. During the police interrogation of Plaintiff Bertha, Defendant Serrata
threatened to call Child Protective Services and have her daughter taken away from
her, unless she told him certain information related to her husband’s criminal
investigation. They further threatened that she would not know where her daughter
was located and that she would not be able to get her daughter back. Plaintiff
Bertha told the officers that she was a good mother and that she works at home so
that she can be with her daughter who has a disability.

34. Defendant Garcia of the Maywood Police Department eventually arrived and
joined Defendant Serrata in the backyard. Both Defendant Serrata and Defendant
Garcia harassed, frightened, and abused Plaintiff Bertha, and continued to threaten
to take her daughter away from her if she did not give them the information they
wanted. During the interrogation, the officers called her a liar and waived clothing
in her face. Defendant Garcia asked Plaintiff Bertha where Plaintiff Maritza’s
clothing was located and stated, “If your daughter uses menstrual pads, tell me
where they are so I can put them in her bag of clothes,” or words to that effect.
Plaintiff Bertha was shocked and horrified. She pleaded with Defendants Garcia
and Serrata not to take her daughter away.

35. Defendants Garcia and Serrata continued to threaten Plaintiff Bertha in the
backyard. Plaintiff Bertha was frantic about her daughter and began to have trouble
breathing.

36. Plaintiff Wendy received a call at work informing her of the situation at her
house. Plaintiff Wendy informed her boss of the situation and borrowed her boss’s
car to drive home.

37. At approximately 1:00 p.m., approximately two hours after the police first
arrived at the house, Plaintiff Wendy arrived to find Plaintiff Maritza without any
caregiver, in front of the house, still trembling, shaking and screaming.

38. Plaintiff Wendy discovered that Plaintiff Maritza had urinated in her pants

while she was detained in the front of the house. She informed the officers that

 

COMPLAINT FOR INJUNCTIVE RELIEF, DECLARATORY RELIEF AND DAMAGES

-10-

 

 
Cad¢ 2:09-cv-06734-SJO-RC Document4 Filed 09/22/09 Page 12 of 34 Page ID #:24

 

1 || Plaintiff Maritza had urinated in her pants and asked the officers if she could change

2 || Plaintiff Maritza’s soiled clothing inside the house. Knowing that Plaintiff Maritza

3 || was autistic and needed to be cared for, the officers refused her request to change

4 i|her sister’s clothes. Plaintiff Maritza was forced to remain in soiled clothing in front

5 || of the house.

6 1139. Police officers refused to allow Plaintiff Wendy or Plaintiff Maritza to see

7 ||their mother. When Plaintiff Maritza attempted to see their mother, the officers told

8 || Plaintiff Wendy to control her sister.

9 ||40. Defendant Garcia ordered Plaintiff Wendy to pack her sister’s clothes because
10 ||they were taking Plaintiff Maritza away. Plaintiff Wendy informed the officers that
11 ||they should not take Plaintiff Maritza away because she is autistic, claustrophobic
12 ||and cannot be in closed spaces. Plaintiff Wendy was concerned for her sister’s and
13 ||mother’s safety.

14 |[41. In an attempt to find help, Plaintiff Wendy then left to go to a local
15 ||Community Center in order to speak to the then-Mayor of Maywood, Felipe
16 ||Aguirre. Plaintiff Wendy informed the Mayor of the situation at her home. Plaintiff
17 || Wendy returned home with Mayor Aguirre and a reporter.
18 ||42. When Plaintiff Wendy returned to the house with the Mayor, Plaintiff Maritza
19 || was still detained in the front yard and shaking uncontrollably. On information and
20 || belief, Mayor Aguirre stayed in the car to call the Chief of Police.
21 |143. After Plaintiff Wendy told the police that the Mayor was present, the police
22 || changed their tone and conduct. Defendant Ishibashi told Wendy, “I know you guys
23 |lare good people. I know you are not like them whores. I have seen your degrees.
24 |! You can go back now and see your mom,” or words to that effect.
25 \|44, Plaintiff Wendy went in the backyard. Plaintiff Bertha was still in the
26 ||backyard. Plaintiff Wendy saw that her mother was having difficulty breathing.
27 || Plaintiff Bertha cried and told Plaintiff Wendy that the officers had taken Plaintiff
28 ||Maritza away. Defendant Serrata told Plaintiff Wendy to stay away from her

COMPLAINT FOR INJUNCTIVE RELIEF, DECLARATORY RELIEF AND DAMAGES

“ll

 

 

 
Cask

wa Fe OB ON

Oo GCG sD

10
il
12
13
14
15

16
17
18
19
20
21
22
23
24

25

26

27

28

 

t 2:09-cv-06734-SJO-RC Document 4 Filed 09/22/09 Page 13 of 34 Page ID #:25

mother and that her mother was just acting. Another officer suggested calling an
ambulance for Plaintiff Bertha.

45. An ambulance arrived, but Plaintiff Bertha refused to leave her daughter, as
she knew that Plaintiff Maritza’s mental state had deteriorated due to the officers’
conduct. She felt that Plaintiff Maritza was in immediate need of her urgent care
and attention. Plaintiff Bertha signed a form to decline the ambulance’s service.
46. Plaintiff Wendy was extremely distraught, frightened, anxious and in fear for
her mother and sister’s life and safety.

47. The officers remained at the scene for over three hours, and left without
finding anything in the house. Plaintiff Maritza was left alone in her upset mental
state, separated from her mother for approximately three hours. During a large
segment of this period, Plaintiff Maritza was in soiled clothes.

48. As aresult of Defendants’ discriminatory actions and omissions on or about
August 25, 2008, Plaintiff Maritza suffered extreme emotional distress, deterioration
of her mental health, social withdrawal, and increased difficulty sleeping.

49. As aresult of Defendants’ discriminatory actions and omissions on or about
August 25, 2008, Plaintiffs Bertha suffered extreme emotional distress. She was
further denied prompt medical care when she experienced difficulty breathing and
was verbally abused by Defendants. Plaintiff Bertha is now mostly confined to her
home because Plaintiff Maritza’s social withdrawal makes leaving the house
difficult for her.

50. As aresult of Defendants’ discriminatory actions and omissions on or about
August 25, 2008, Plaintiff Wendy suffered extreme emotional distress from viewing
her sister in her terrified state, seeing her mother have difficulty breathing, and
suffering Defendants’ verbal abuse.

51. Plaintiffs filed tort claims with Defendants City of Maywood and County of
Los Angeles on February 20, 2009. Plaintiffs’ claims were amended on February
25, 2009 and again on March 4, 2009. Defendants County of Los Angeles rejected

 

COMPLAINT FOR INJUNCTIVE RELIEF, DECLARATORY RELIEF AND DAMAGES

-12-

 

 
Cas

No <i >)

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

4

 

t 2:09-cv-06734-SJO-RC Document 4 Filed 09/22/09 Page 14 of 34 Page ID #:26

Plaintiffs’ tort claims on April 14, 2009. Defendant City of Maywood has rejected
Plaintiffs’ tort claims by operation of law.
52. Accordingly, Plaintiffs bring this action seeking injunctive and declaratory
relief in order to compel Defendants to comply with their obligations to reasonably
accommodate individuals with mental disabilities. Plaintiffs also seek
compensatory and punitive damages, where applicable, in addition to attorneys’ fees
and costs. |
FIRST CLAIM FOR RELIEF
Violation of Title II of the Americans with Disabilities Act
(42 U.S.C. § 12101 ef seq.)
(By All Plaintiffs Against Defendants City, MPD, and County)
53. Plaintiffs incorporate by reference each and every allegation contained in the
forgoing paragraphs.
54. Congress enacted the ADA upon finding, among other things, that “society
has tended to isolate and segregate individuals with disabilities” and that such forms
of discrimination continue to be a “serious and pervasive social problem.” 42 U.S.C.
§ 12101(a)(2)}.
55. In response to these findings, Congress explicitly stated that the purpose of
the ADA is to provide “a clear and comprehensive national mandate for the
elimination of discrimination against individuals with disabilities” and “clear,
strong, consistent, enforceable standards addressing discrimination against
individuals with disabilities.” 42 U.S.C. § 12132.
56. Title II of the ADA provides in pertinent part: “[N]o qualified individual with
a disability shall, by reason of such disability, be excluded from participation in or
be denied the benefits of the services, programs, or activities of a public entity, or be

subjected to discrimination by any such entity.” 42 U.S.C. § 12132.

57. Accordingly, the U.S. Department of Justice’s regulations implementing

Title II require that “[a] public entity shall make reasonable modifications in

 

COMPLAINT FOR INJUNCTIVE RELIEF, DECLARATORY RELIEF AND DAMAGES

-13-

 

 
Case

oOo CO 1 NH A FP WY WH

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

 

 

2:09-cv-06734-SJO-RC Document 4 Filed 09/22/09 Page 15 of 34 Page ID #:27

policies, practices, or procedures when the modifications are necessary to avoid

discrimination on the basis of disability.” 28 C.F.R. §35.130(b)(7).
58. The Code of Federal Regulations specifically states that:
[a] public entity, in providing any aid, benefit, or service, may
not...on the basis of disability, [deny a qualified individual with a
disability the opportunity to participate in or benefit from the aid,
benefit, or service; [or] [a]fford a qualified individual with a disability
an opportunity to participate in or benefit from the aid, benefit, or
service that is not equal to that afforded others[.]
28 C.F.R. § 35.130(b)(1)G-i1)
59, The Department of Justice’s implementing regulations also prohibits
“methods of administration . . . [t]hat have the effect of subjecting qualified
individuals with disabilities to discrimination on the basis of disability. . .” 28
C.F.R. § 35.130(b)(3)@).
60. Deliberate indifference to one’s disability constitutes intentional
discrimination and occurs when both knowledge that a harm to a federally protected
right is substantially likely is present, and there is a failure to act upon that the
likelihood. Duvall v. County of Kitsap, 260 F.3d 1124, 1138-39 (9th Cir, 2001).
61.  Atall times relevant to this action, Defendants were public entities within the
meaning of Title II of the ADA and provided a program, service, or activity to the
general public. 42 U.S.C. § 12131.
62. Plaintiff Maritza is at all times relevant to this action a qualified individual
with a disability within the meaning of Title II of the ADA and met the essential
eligibility requirements for the receipt of services, programs or activities of
Defendants.
63. Defendants violated the ADA and deprived Plaintiff Maritza of her federally

protected rights by failing to provide her with appropriate accommodations and

 

COMPLAINT FOR INJUNCTIVE RELIEF, DECLARATORY RELIEF AND DAMAGES

-14-

 
Cad¢ 2:09-cv-06734-SJO-RC Document 4 Filed 09/22/09 Page 16 of 34 Page ID #:28 |

bo

oO CO SN DWH A EF WH

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

 

 

services in light of her disability. Defendants instead provided her with programs,
services and activities that were different, separate, and worse than the service
provided to other individuals.

64, Through the acts and omissions of Defendants and their agents and employees
described herein, Defendants further subjected Plaintiff Maritza to discrimination on
the basis of her disability in violation of Title II of the ADA by failing to make
reasonable modifications of policies, practices and procedures. Defendants failed to
provide Plaintiff Maritza with reasonable accommodations by disallowing her to
remain with her mother or another trusted adult.

65. Through the acts and omissions of Defendants and their agents and employees
described herein, Defendants intentionally discriminated against Plaintiff Maritza by
failing to act upon their knowledge that harm to her federally protected right under
the ADA was substantially likely when they isolated her for over two hours.

66. The Code of Federal Regulations states in pertinent part that “a public entity
shall not exclude or otherwise deny equal services, programs, or activities to an
individual or entity because of the known disability of an individual with whom the
individual or entity is known to have a relationship or association.” 28 C.F.R. §
35.130(g).

67. Plaintiff Bertha is Plaintiff Maritza’s mother, and is an individual associated
with a qualified individual with a disability within the meaning of the ADA.

68. Plaintiff Wendy is Plaintiff Maritza’s sister, and is an individual associated
with a qualified individual with a disability within the meaning of the ADA.

69. At all times pertaining to this action, Defendants had knowledge of Plaintiff
Maritza’s disability and of her familial and dependant relationship with Plaintiffs
Bertha and Wendy.

70. Defendants violated the ADA and deprived Plaintiffs Bertha and Wendy of

their federally protected rights by failing to provide equal services and reasonable

 

COMPLAINT FOR INJUNCTIVE RELIEF, DECLARATORY RELIEF AND DAMAGES

-15-

 
Cade 2:09-cv-06734-SJO-RC Document 4 Filed 09/22/09 Page 17 of 34 Page ID #:29

& Ww hb

eo oOo Ss DH WA

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

 

 

accommodations to Plaintiffs based on Plaintiffs’ association with Plaintiff Maritza,
a qualified individual with a disability.

71. Through Defendants’ use of Plaintiff Maritza’s mental disability and
dependence on her mother to attempt to coerce information from her mother,
Defendants unlawfully and intentionally denied Plaintiffs Bertha and Wendy equal
treatment, services and accommodations in clear violation of the ADA.

72. Plaintiffs Maritza, Bertha and Wendy are informed, believe, and thereon
allege that Defendants committed the acts and omissions alleged herein in reckless
and/or intentional disregard of Plaintiffs’ rights.

73. Asadirect and proximate result of the aforementioned acts, Plaintifis have
suffered and continue to suffer humiliation, hardship, anxiety, indignity, and severe
mental and emotional anguish.

74, Plaintiffs Maritza, Bertha and Wendy are informed, believe, and thereon
allege that Defendants and their agents and employees could have reasonably
allowed Plaintiff Maritza to remain with her mother or another trusted adult during
Plaintiff Bertha’s interrogation as a reasonable and equal accommodation.

75. Plaintiffs are informed, believe, and thereon allege that Defendants and their
agents and employees have failed and continue to fail to:

a) Adopt and enforce policies and procedures for providing reasonable
accommodations for individuals with mental disabilities, and those associated with
individuals with mental disabilities;

b) Train and supervise all officers and employees to provide reasonable
accommodations and equal treatment and services to individuals with mental
disabilities;

c) Provide all officers and employees with training regarding the behavior and
special needs of individuals with mental disabilities, especially autism.

76. Because Defendants’ discriminatory conduct is ongoing, declaratory and

injunctive relief are appropriate remedies.

 

COMPLAINT FOR INJUNCTIVE RELIEF, DECLARATORY RELIEF AND DAMAGES

-16-

 
Case

wn Se Ww bh

oO SO “sD NA

10
1
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

 

 

2:09-cv-06734-SJO-RC Document4 Filed 09/22/09 Page 18 of 34 Page ID #:30

77. Pursuant to 42 U.S.C. § 12133, Plaintiffs are entitled to injunctive relief and
to recover reasonable attorneys’ fees and costs incurred in bringing this action.
Plaintiffs also seek to recover damages in this action.
SECOND CLAIM FOR RELIEF
Violation of Section 504 of the Rehabilitation Act of 1973
(29 U.S.C, § 794)
(By All Plaintiffs Against Defendants City, MPD, and County)
78. Plaintiffs incorporate by reference each and every allegation contained in the
foregoing paragraphs.
79. Section 504 of the Rehabilitation Act provides in pertinent part: “[N]o
qualified individual with a disability...shall, solely by reason of his or her disability,
be excluded from participation in, be denied the benefits of, or be subjected to
discrimination under any program or activity receiving federal financial
assistance....” 29 U.S.C. § 794.
80. The Rehabilitation Act also covers individuals known to have a relationship
or association with an individual with a disability. See Blanchard v. Morton Sch.
Dist., 509 F.3d 934, 938 (9th Cir. 2007).
81. Plaintiff Maritza is at all times relevant herein a qualified individual with a
disability within the meaning of the Rehabilitation Act because she has a mental
impairment that substantially limits one or more of her major life activities. See 29
U.S.C. § 705(20)(B).
82. Plaintiff Bertha is Plaintiff Maritza’s mother, and is an individual associated
with a qualified individual with a disability within the meaning of the Rehabilitation
Act.
83. Plaintiff Wendy is Plaintiff Maritza’s sister, and is an individual associated
with a qualified individual with a disability within the meaning of the Rehabilitation
Act.

 

COMPLAINT FOR INJUNCTIVE RELIEF, DECLARATORY RELIEF AND DAMAGES

-l7-

 
Cask

Oo © SI A UW FF BW Ne

BM 8B NM KO ND BRD RD ORD ON Om it
Oo ~~ WA A & Ww NH &§ DBD WO BD NH HR ww FP WD NH KF OS

 

b 2:09-cv-06734-SJO-RC Document4 Filed 09/22/09 Page 19 of 34 Page ID #:31

84.  Atall times relevant to this action, Defendants were recipients of federal
financial assistance within the meaning of the Rehabilitation Act.
85, Through their acts and omissions described herein, Defendants have violated
and continue to violate the Rehabilitation Act, including all applicable regulations,
by subjecting Plaintiff Maritza to discrimination in the benefits and services
provided to the general public.
86. Plaintiffs are informed, believe, and based thereon allege that Defendants
committed the acts and omissions alleged herein with the intent and/or reckless
disregard of the rights of Plaintiffs.
87. Asa direct and proximate result of the aforementioned acts, Plaintiffs have
suffered and continue to suffer humiliation, hardship, anxiety, indignity, and severe
mental and emotional anguish.
88. Because Defendants’ discriminatory conduct is ongoing, declaratory and
injunctive relief are appropriate remedies.
89. Pursuant to 29 U.S.C. § 794(a), Plaintiffs are entitled to injunctive relief and
to recover from Defendants reasonable attorneys’ fees and costs incurred in bringing
this action. Plaintiffs in their individual capacities are also entitled to damages in
this action.
THIRD CLAIM FOR RELIEF
Violation of Fourteenth Amendment (42 U.S.C. § 1983)
(By All Plaintiffs Against All Defendants)
90. Plaintiffs incorporate by reference each and every allegation contained in the
foregoing paragraphs.
91. This cause of action arises under United States Code, Title 42, Section 1983,
wherein Plaintiffs seek to redress a deprivation under color of law of a right secured
by the Fourteenth Amendment of the United Stated Constitution.
92. Section 1983. provides in pertinent part that “[e]very person who, under color

of any statute, ordinance, regulation, custom, or usage, of any State or Territory or

 

COMPLAINT FOR INJUNCTIVE RELIEF, DECLARATORY RELIEF AND DAMAGES

-18-

 

 
Cagep 2:09-cv-06734-SJO-RC Document 4 Filed 09/22/09 Page 20 of 34 Page ID #:32

ed

the District of Columbia, subjects, or causes to be subjected, any citizen of the

 

2 || United States or other person within the jurisdiction thereof to the deprivation of any
3 ||rights, privileges, or immunities secured by the Constitution and laws, shall be liable
4 ||to the party injured in an action at law, suit in equity, or other proper proceeding for
5 |jredress.”
6 193.  Atall times relevant to this Complaint, Defendants and Defendants’ officers
7 || acted under color of law.
8 ||94. The Fourteenth Amendment to the United States Constitution guarantees the
9 || right to due process.
10 195. Defendants subjected Plaintiff Maritza extreme hardship and emotional
11 || distress by isolating her for a long period of time in soiled clothing, in violation of
12 || Plaintiff Martiza’s clearly established right to due process under the Fourteenth
13 || Amendment. Defendants subjected Plaintiffs Bertha and Wendy to extreme hardship
14 ||and emotional distress by refusing to allow Plaintiff Martiza to be with Plaintiff
15 |! Bertha and threatening to take Martiza into child protective services, in violation of
16 ||Plaintiffs’ clearly established right to due process under the Fourteenth Amendment.
17 1196. Defendants’ conduct entitles Plaintiffs to recover damages under 42 U.S.C. §
18 || 1983 and Monell v. New York City Dept. of Soc. Serv., 436 U.S. 658 (1978), and
19 || City of Canton v. Harris, 489 U.S. 378 (1989).
20 FOURTH CLAIM FOR RELIEF
21 Violation of Cal. Gov. Code § 11135
22 (By All Plaintiffs Against Defendants City, MPD, and County)
23 ||97. Plaintiffs incorporate by reference each and every allegation contained in the
24 || forgoing paragraphs.
25 198. Section 11135(a) of the California Government Code provides in pertinent
26 || part: “No person in the State of California shall, on the basis of. ..disability, be
27 ||unlawfully denied full and equal access to the benefits of, or be unlawfully subjected
28 ||to discrimination under any program or activity that is conducted, operated, or

 

COMPLAINT FOR INJUNCTIVE RELIEF, DECLARATORY RELIEF AND DAMAGES

-19-

 

 

 
Case

oOo f*©& NSN BH A FP WD NY HY

Me 8 PO Bw BR BR ND RO a sa
oOo ~ KH wo £& WS KH SKY GS CBO Oo sS HR OH FP WD BB

 

 

2:09-cv-06734-SJO-RC Document 4 Filed 09/22/09 Page 21 of 34 Page ID #:33

administered by the state or by any state agency, is funded directly by the state or
receives any financial assistance from the state.”
99. Atall times relevant to this action, Defendant MPD was an agency of
Defendant City. At all times relevant to this action, Defendants City, MPD and
County received financial assistance from the State of California.
100. Through their acts and omissions described herein, Defendants have violated
and continue to violate California Government Code § 11135 by unlawfully denying
Plaintiffs Maritza, Bertha, and Wendy full and equal access to the benefits of, and
unlawfully subjecting Plaintiffs to discrimination in, Defendants’ programs and
activities.
101. California Government Code § 11135(b) provides that a violation of Title II
of the ADA also constitutes a violation under Section 11135. Defendants have
violated California Government Code § 11135(b) in that the conduct alleged herein
constitution a violation of Title II of the ADA.
102. Because Defendants’ discriminatory conduct is ongoing, declaratory and
injunctive relief are appropriate remedies, as well as reasonable attorneys’ fees and
costs in filing this action. .
FIFTH CLAIM FOR RELIEF
Violation of Unruh Civil Rights Act (Civil Code § 51 et seq.)

(By All Plaintiffs Against Defendants City, MPD, and County)
103. Plaintiffs incorporate by reference each and every allegation contained in the
foregoing paragraphs.
104. Section 51(b) of the California Civil Code provides in pertinent part: “All
persons within the jurisdiction of this state are free and equal, and no matter what
their...disability...are entitled to the full and equal accommodations, advantages,
facilities, privileges, or services in all business establishments of every kind

whatsoever.”

 

COMPLAINT FOR INJUNCTIVE RELIEF, DECLARATORY RELIEF AND DAMAGES

-20-

 
Cas

oOo fo nN HD Ww FP WY LW

10
11
12
13
i4
15
16
17
18
19
20
21
22
23
24
25
26
27
28

A

 

b 2:09-cv-06734-SJO-RC Document 4 Filed 09/22/09 Page 22 of 34 Page ID #:34

105. At all times relevant to this action Plaintiffs Maritza, Bertha and Wendy
resided within the jurisdiction of California.

106. Defendants own, operate, and/or lease a business establishment within the
meaning of the Unruh Act. Defendants are each a “business establishment” and
have denied Plaintiffs “accommodations, advantages, facilities, privileges, or
services” within the meaning of California Civil Code §§ 51 ef seq.

107. Through their acts and omissions described herein, Defendants have violated
and continue to violate California Civil Code § 51 (b) by unlawfully denying
Plaintiffs full and equal accommodations, advantages, facilities, privileges, or
services in all business establishments of every kind whatsoever, to which they are
entitled, thereby subjecting Plaintiffs to discrimination.

108. The Unruh Act further provides that “[a] violation of the right of any
individual under the American with Disabilities Act...shall also constitute a
violation of this section.” Cal. Civ. Code § 51(f).

109. For all the reasons outlined above, Defendants violated the rights of Plaintiffs
under the Americans with Disabilities Act, and therefore violated California Civil
Code § 51.

110. Defendants actions against Plaintiffs constituted discrimination against them,
intentional and otherwise, and violated California Civil Code §§ 51, et seq., as
Plaintiffs were denied full and equal accommodations, advantages, privileges and
services that are provided to non-disabled individuals.

111. Asa direct and proximate result of Defendants’ aforementioned actions,
Plaintiffs suffered and continue to suffer humiliation, hardship, anxiety, indignity,
and severe mental and emotional anguish.

112. Defendants are liable to Plaintiffs for up to three times actual damages, but no
less than $4,000 (four thousand dollars) for each and every offense under the Unruh
Act. Cal. Civ. Code § 52(a).

113. Plaintiffs also seek attorneys’ fees and costs.

 

COMPLAINT FOR INJUNCTIVE RELIEF, DECLARATORY RELIEF AND DAMAGES

-21-

 

 
Cas

Oo © JN DB A FB WS NH FH

mM ht iw rh Nw ho BO bo Bo — ea ol — — — — — — —
o ~a HR nA BB | NHN fF BS Oo eo YN HD ww FP WD NY KS

q

 

 

2:09-cv-06734-SJO-RC Document 4 Filed 09/22/09 Page 23 of 34 Page ID #:35

114. Because Defendants’ discriminatory conduct is ongoing, and as provided
under the statute, declaratory and injunctive relief are appropriate remedies. Cal.
Civ. Code § 52.1(b).
SIXTH CLAIM FOR RELIEF
Violation of California Civil Code § 34
(By All Plaintiffs Against Defendants City, MPD, and County)
115. Plaintiffs incorporate by reference each and every allegation contained in the
forgoing paragraphs. |
116. California Civil Code § 54(a) provides that “[i]ndividuals with disabilities or
medical conditions have the same rights as the general public to the full and free use
of ...public services....”
117. Plaintiff Maritza is a person with disabilities within the meaning of California
Civil Code § 54(b)(1) and California Government Code § 12926.
118. Plaintiffs Bertha and Wendy are persons associated with a person with
disabilities within the meaning of California Civil Code § 54(b)(1) and California
Government Code § 12926.
119. Defendants provide public services within the meaning of § 54 et seq.
120. By failing to provide reasonable and equal accommodations to Plaintiffs in
light of, and based upon, Plaintiff Maritza’s mental disability, Defendants have
deprived Plaintiffs of their right to have full and free use of public services, and
therefore violate California Civil Code § 54.
121. Under California Civil Code § 54(c), a violation of the ADA also constitutes al
violation of California Civil Code § 54 et seq.
122. For all the reasons outlined above, Defendants violated the rights of Plaintiffs
Maritza, Bertha, and Wendy under the Americans with Disabilities Act, and
therefore violated California Code § 54.

 

COMPLAINT FOR INJUNCTIVE RELIEF, DECLARATORY RELIEF AND DAMAGES

-23.

 
Cage 2:09-cv-06734-SJO-RC Document 4 Filed 09/22/09 Page 24 of 34 Page ID #:36

Oo @©Oo NY DN A FSF WS WY

mm NH MN NM NM NN NM RO BB ee Sl
oOo ~ DT HH vA BP WD NY SK§ CO OBO MW HN DH SF YW NY KF

123. Asadirect and proximate result of the aforementioned acts, Plaintiffs have
suffered and continue to suffer humiliation, hardship, anxiety, indignity, and severe
mental and emotional anguish.
124, Pursuant to California Civil Code § 54.3(a), Defendants are liable to Plaintiffs
for actual damages up to three times their actual damages, but no less than
$1,000.00 for every offense of California Civil Code § 54 et. seq.
125. Under California Civil Code § 54 et. seq., Plaintiffs are entitled to injunctive
relief, and attorneys’ fees and costs.
SEVENTH CLAIM FOR RELIEF
Intentional Infliction of Emotional! Distress
(By All Plaintiffs Against All Defendants)
126. Plaintiffs incorporate by reference each and every allegation contained in the
foregoing paragraphs.
127. Through their actions and omissions, Defendants and/or one or more of
Defendants’ employees acted intentionally, recklessly, and/or in conscious disregard
with respect to the high probability that their conduct would likely result in severe
emotional distress, embarrassment, extreme fear, anxiety, panic attacks, shock,
dismay and anguish to Plaintiffs, with or without accompanying physical symptoms.
128. Defendants’ and/or one or more of Defendants’ employees acts and omissions
were extreme, outrageous and shocking to the conscience of an ordinary person, and
caused, in fact, each and every Plaintiff severe emotional distress, embarrassment,
humiliation, extreme fear, anxiety, panic attacks, shock, loss of sleep, dismay and
anguish.
129. Plaintiffs are informed and believe and thereon allege that Defendants’ and/or
one or more of Defendants’ employees acts and omissions described herein, and
other such acts, were willful, reckless, oppressive, malicious and done with a callous
disregard of consequences substantially certain to occur and justify an award of

exemplary and punitive damages.

 

COMPLAINT FOR INJUNCTIVE RELIEF, DECLARATORY RELIEF AND DAMAGES

 

-23-

 

 
Cag

oOo fo nN WBN A SP WY WH

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

(

 

P 2:09-cv-06734-SJO-RC Document4 Filed 09/22/09 Page 25 of 34 Page ID #:37

EIGHTH CLAIM FOR RELIEF

Negligent Infliction of Emotional Distress

(By All Plaintiffs Against All Defendants)
130. Plaintiffs incorporate by reference each and every allegation contained in the
foregoing paragraphs.
131. Through their actions and omissions, Defendants and/or one or more of
Defendants’ employees acted negligently with respect to the high probability that
their conduct would likely result in severe emotional distress, embarrassment,
extreme fear, anxiety, panic attacks, shock, dismay and anguish to Plaintiffs, with or
without accompanying physical symptoms.
132. Defendants unreasonably and negligently breached the duty of care owed to
the Plaintiffs based on the requirements imposed on Defendants by federal and state
law. Defendants knew, or by the exercise of due care should have known, that their
actions would cause Plaintiffs to suffer severe mental and emotional distress.
133. Asadirect and proximate result of the acts and omissions described herein,
Defendants have injured Plaintiffs. Plaintiffs’ injuries include, without limitation,
severe emotional distress, embarrassment, humiliation, extreme fear, anxiety, panic
attacks, shock, loss of sleep, dismay and anguish.

NINTH CLAIM FOR RELIEF
Negligence

(By All Plaintiffs Against All Defendants)
134. Plaintiffs incorporate by reference each and every allegation contained in the
forgoing paragraphs.
135. One or more City, MPD, and/or County employees, including but not limited
to Defendants Serrata, Garcia, and Ishibashi, within the scope of their duties, were
negligent, and as a result Plaintiffs were injured and continue to be injured, thereby

entitling Plaintiffs to damages.

 

COMPLAINT FOR INJUNCTIVE RELIEF, DECLARATORY RELIEF AND DAMAGES

-24-

 

 
Cas

bo

4 NWN we Se WG

10
i
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

Lp

be 2:09-Cv-06734-SJO-RC Document 4 Filed 09/22/09 Page 26 of 34 Page ID #:38

136. Defendants had a duty to Plaintiffs to provide Plaintiffs with reasonable and
equal accommodations and care as other individuals without mental disabilities or
others not associated with individuals with disabilities. Accordingly, Defendants
breached this duty of equal and reasonable accommodation and care, and therefore
caused emotional and mental harm to Plaintiffs Maritza, Bertha and Wendy.
137. Defendants knew or should have known that the conduct of the Defendants
and Defendants’ employees would cause Plaintiffs severe emotional distress and
that Plaintiff Maritza’s developmental and mental health would rapidly deteriorate.
138. Defendant City, MPD, and/or County are liable for Plaintiffs injuries due to
the negligence of City, MPD, and/or County’s employees, under California
Government Code § 815.2.
PRAYER FOR RELIEF

WHEREFORE, Plaintiffs respectfully pray for judgment as follows:
139, A declaration that Defendants’ conduct as alleged herein violated and
continues to violate Title I of the Americans with Disabilities Act, Section 504 of
the Rehabilitation Act of 1973, California Government Code § 11135, the Unruh
Civil Rights Act, and the California Disabled Persons Act;
140. A permanent injunction against Defendants, including but not limited to the
following:

a) Ordering Defendants to cease all discriminatory actions against individuals
with mental disabilities, including autism and mental retardation;

b) Ordering Defendants to cease all discriminatory actions against individuals
associated with an individual with a mental disability on the basis of that disability;

c) Ordering Defendants to establish and enforce a department-wide policy of
non-discrimination against individuals with mental disabilities, including autism and
mental retardation;

d) Ordering Defendants to train all officers and employees to provide

reasonable accommodations and equal treatment and services to individuals with

 

COMPLAINT FOR INJUNCTIVE RELIEF, DECLARATORY RELIEF AND DAMAGES

 

 

 

-25-
O
©

wo fo SN DH wr Fe WY HY

nm NM NN YN N NN NO Se Se eB Se ee elm SS UhUmEeSLUD
pn a = SS SN oo > = oo

DI

He 2:09-Ccv-06734-SJO-RC Document 4 Filed 09/22/09 Page 27 of 34 Page ID #:39

mental disabilities as provided by the Americans With Disabilities Act, Section 504
of the Rehabilitation Act, and California disability rights statutes;

e) Ordering Defendants to provide all officers and employees with training
regarding the behavior and special needs of individuals with mental disabilities,
especially autism and mental retardation.

141. Damages to Plaintiffs Maritza, Bertha, and Wendy, according to proof,
142. Plaintiffs’ attorneys’ fees and costs of this suit as provided by law; and

143. Grant such other and further relief as the Court deems just and proper.

Respectfully submitted this [@ day of September, 2009.

DISABILITY RIGHTS LEGAL CENTER

 

 

DEBRA J. PATKIN
Attorney for Plaintiffs

 

COMPLAINT FOR INJUNCTIVE RELIEF, DECLARATORY RELIEF AND DAMAGES

-26-

 

 

 
. 25

Cadb 2:09-cv-06734-SJO-RC Document 4 Filed 09/22/09 Page 28 of 34 Page ID #:40

1 JURY DEMAND
Pursuant to Federal Rule of Civil Procedure 38(b), Plaintiffs hereby demand a

trial by jury on each and every issue so triable.

Dated: September _}& 2009 DISABILITY RIGHTS LEGAL CENTER

py: 2

DEBRA J. PATKIN
Attomey for Plaintiffs

Oo 0UotmlC NOD ee

10
1
12
13
14
15
16
17
18
19
20
21
22
23
24

26
27
28

 

COMPLAINT FOR INJUNCTIVE RELIEF, DECLARATORY RELIEF AND DAMAGES

-27-

 

 

 
Case 2:09-cv-06734-SJO-RC Document4 Filed 09/22/09 Page 29 of 34 Page ID #:41

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

NOTICE OF ASSIGNMENT TO UNITED STATES MAGISTRATE JUDGE FOR DISCOVERY

This case has been assigned to District Judge S. James Otero and the assigned discovery
Magistrate Judge is Rosalyn M. Chapman.

The case number on all documents filed with the Court should read as follows:

CVO9- 6734 SJO (RCx)

Pursuant to General Order 05-07 of the United States District Court for the Central
District of California, the Magistrate Judge has been designated to hear discovery related
motions.

All discovery related motions should be noticed on the calendar of the Magistrate Judge

NOTICE TO COUNSEL

A copy of this notice must be served with the summons and complaint on all defendants (if a removal action is
filed, a copy of this notice must be served on all plaintiffs).

Subsequent documents must be filed at the following Iocation:

[X] Western Division [_] Southern Division [_] Eastern Division
31Z N. Spring Si, Rm. G-3 417 West Fourth St, Rim. 1-053 3476 Twetitn St, Rin. 734
Los Angeles, CA 90012 Santa Ana, CA 92701-4516 Riverside, CA $2501

Failure to file at the proper location will result in your documents being returned to you.

 

CV-18 (03/06) NOTICE OF ASSIGNMENT TO UNITED STATES MAGISTRATE JUDGE FOR DISCOVERY
Case 2:09-cv-06734-SJO-RC Document4 Filed 09/22/09 Page 30 of 34 Page ID #:42

Paula D. Pearlman SBN 109038
paula.pearlman@lls.edu

DISABILITY RIGHTS LEGAL CENTER

919 Albany Street

Los Angeles, CA 90015

Tel: 213-736-1031 (See attachment for add'l atty's)

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA -

MARITZA SANCHEZ MARTINEZ, an individual, by! cask NUMBER

and through her mother and guardian ad litem . . .
' a = i 7 3 a S f
BERTHA MARTINEZ (see attachment) a GV o Q- G 6 é. 54 & J QO (R Cy)
v.

 

CITY OF MAYWOCD, a public entity, MAYWOOD

POLICE DEPARTMENT, a public entity, COUNTY

OF LOS ANGELES, a public entity (see attachment)
DEFENDANT(S)}.

SUMMONS

 

TO: DEFENDANT(S): City of Maywood, a public entity, Maywood Police Department, a public entity,
County of Los Angeles, a public entity, Andrew Serrata, an individual (see attachment for add'l def.)

A lawsuit has been filed against you.

Within 20 days after service of this summons on you (not counting the day you received it), you

must serve on the plaintiff an answer to the attached ff complaint CO amended complaint

Ci counterclaim 0 cross-claim or a motion under Rule 12 of the Federal Rules of Civil Procedure. The answer

or motion must be served on the plaintiff's attorney, Shawna L. Parks , whose address is
Disability Rights Legal Center, 919 Albany Street, Los Angeles, CA 90015 . If you fail to do so,

judgment by default will be entered against you for the relief demanded in the complaint. You also must file

your answer or motion with the court.

Clerk, U.S. District Court

Dated:___ SEP 2 2 2009

 

[Use 60 days if the defendant is the United States or a United States agency, or is an officer or employee of the United States. Allowed
60 days by Rule 12(a)(3)].

 

CV-O1A (12/07) SUMMONS
Do fo SNS HD ww SF WH NV

MM NR BRD BRD BRD RD RD Oe a
so U™~DlUCUMNOt a Oa ke OODN DOr ll ll Nt Os ei SOOO RON OS

 

 

Case 2:09-cv-06734-SJO-RC Document4 Filed 09/22/09 Page 31 0f34 Page ID #:43

ATTACHMENT TO SUMMONS

ADDITIONAL ATTORNEY INFORMATION:

Shawna L. Parks (CA Bar No. 208301)
shawna.parks@lls.edu

Debra Patkin (CA Bar No. 252197)
debra.patkin@lls.edu

Matthew D. Strugar (CA Bar No. 232951)
matthew.strugar@lls.edu

DISABILIT HTS LEGAL CENTER
919 Albany Street

Los Angeles, California 90015

Tel: (213) 736-1031; Fax: (213) 736-1428

CYNTHIA ANDERSON-BARKER, (CA Bar No. 175764)§
cablaw@hotmail.com

LAW OFFICES OF CYNTHIA ANDERSON-BARKER
3435 Wilshire Blvd., Ste 2900, Los Angeles, CA 90010
Tel: (213) 381-3246

Fax: (213) 252-0091

ADDITIONAL PLAINTIFFS

BERTHA MARTINEZ, an individual, and WENDY SANCHEZ, an individual

ADDITIONAL DEFENDANTS

ANDREW SERRATA, an individual, MPD OFFICER GARCIA, an individual,
DAVID ISHIBASHI, an individual, and Does 1 through 10, individuals sued in
their individual capacities, inclusive

TO DEFENDANTS

MPD OFFICER GARCIA, an individual, DAVID ISHIBASHI, an individual, and
Does | through 10, individuals sued in their individual capacities, inclusive
Case 2:09-cv-06734-SJO-RC Document 4 Filed 09/22/09 Page 32 of 34 Page ID #:44

{ i
UNITED STATELY DISTRICT COURT, CENTRAL DISTRICT .. CALIFORNIA
CIVIL COVER SHEET

 

I (a) PLAINTIFFS (Check box if you are representing yourself O)
MARITZA SANCHEZ MARTINEZ, an individual, by and through her mother
and guardian ad litem, BERTHA MARTINEZ; BERTHA MARTINEZ, an
individual, and WENDY SANCHEZ, an individual

DEFENDANTS
CITY OF MAYWOCD, 2 public entity, MAYWOOD POLICE DEPARTMENT,

a public entity, COUNTY OF LOS ANGELES, a public entity, ANDREW
SERRATA, an individual (see attachment for additional defendants)

County of Los Angeles County of Los Angeles

(b) Attorneys (Firm Name, Address and Telephone Number. If you are representing
yourself, provide same.)

Attorneys (If Known)

Paula D. Pearlman
Disability Rights Legal Center, 919 Albany Street, Los Angeles, CA 90015
‘Tel: 213-736-1031 (see attachment for additional attorney information)

 

 

Tl. BASIS OF JURISDICTION (Place an X in one box only.) Ill. CITIZENSH?P OF PRINCIPAL PARTIES - For Diversity Cases Only
(Place an X in one box for plaintiff and one for defendant.)
O1U.S. Government Plaintiff 3 Federal Question (U.S. PTF DEF PTF DEF
Government Not a Party) Citizen of This State (11 (1 Incorporated or Principal Plasee O4 O4
of Business in this State
020.8. Government Defendant 0 4 Diversity (Indicate Citizenship | Citizen of Another State O2 2 Incorporated and Principal Place O05 O85
of Parties in tem TIT} of Business in Another State
Citizen or Subject ofa Foreign Country 113 03 Foreign Nation H6 O6

 

 

T¥. ORIGIN (Place an X in one box only.)

wf) Original 12 Removed fom (13 Remanded fom 64 Reinstatedor (15 Transferred from another district (specify): [16 Multi- 17 Appeal to District
Proceeding State Court Appellate Court Reopened District Judge from
Litigation Magistrate Judge

 

¥. REQUESTED IN COMPLAINT: JURY DEMAND: M Yes C1 No (Check ‘Yes’ only if demanded in complaint.)
CLASS ACTION ander E.R.C.P. 23: (Yes No

i MONEY DEMANDED IN COMPLAINT: $_Per Proof

 

VI. CAUSE OF ACTION (Cite the U.S. Civil Statute under which you are filing and write a brief statement of cause. Do not cite jurisdictional statutes unless diversity.)
ADA, Title [; Sec. $04 of Rehabilitation Act of 1973; Fourteenth Amendment, CA Gov. Code Section 11135, (see attachment for additional information}

VIL NATURE OF SUIT (Place an X in one box only,}

 

   

   

 

 

 

 

   
 

 

 

 

 

 

 

  

  
    
 

  
 

 

 
 

 

 

 

State Reapportionment ) Insurance ‘ E 4101710 Fair Labor Standards
01410 Antitrust 0120 Marine Tp Motions to Act
(1430 Banks and Banking 1130 Miller Act 1315 Airplane Product (1370 Other Fraud Vacate Sentence | 720 Labor/Mgmt.
1450 Commerce/ICC 1 140 Negotiabie Instrument Liability — (1371 Truth in Lending Habeas Corpus Relations
Rates/etc. (1150 Recovery of 1320 Assault Libel ® 17380 Other Personal /01 530 General 730 Labor/Memt.
11460 Deportation Overpayment & ander : Property Damage | 535 Death Penalty Reporting &
11470 Racketeer Influenced Enforcement of [1330 Fed. Employers’ 174 385 Property Damage {D540 Mandamus/ Disclosure Act
and Corrupt Judgment Liability Product Liability Other (1740 Railway Labor Act
Organizations O51 Medicare Act Aas vere Product Pe BANK & 01550 Civil Rights 790 Other Labor
[1480 Consumer Credit 1 152 Recovery of Defaulted Liability roduct F452 Appeal 28 USC IO $55 Prison Condition Litigation
q ne cableiSar ; Student Loan (Exel. 350 Motor Vehicle 0493 witha wal 28 0 791 ent Ret Inc.
elective Service eterans) 11355 Motor Vehicle ithdra ecurity Act
0850 Securities/Commodities/}F1 153 Recovery of Product Liability _ Agriculture REeDROPER REG
Exchange Overpayment of (0360 Other Personal BeSGry Other Food & [11 820 Copyrights
(1875 Customer Challenge 12 Veteran’s Benefits Injury 441 Voting Drug 0 830 Patent
USC 3410 (160 Stockhoiders’ Suits (362 Personal Injury. |0 442 Employment (1625 Drug Related a 340 Trademark oom
0890 Other Statutory Actions | 190 Other Contract Med Malpractice 0443 Housing/Acco- Seizure of TAS H
0891 Agricultural Act 00195 Cantract Product 0365 Personal Injury- mmodations Property 21 USC qo 361 “HIA (1395f)
11892 Economic Stabilization Liability Product Liability [O1444 Welfare 881 0 862 Black Lung (923)
Act (196 Fi Franchise (0368 Asbestos Personal [0.445 American with |€1 630 Liquor Laws 0 863 DIWC/DIWW
(1893 Environmental Matters |ESaccRE ae ae Injury Product Disabilities - 0640 RR & Truck (405(g})
11894 Energy Allocation Act [1210 Land Condemnation. iabili sta of Employment 0650 Airline Regs (1 864 SSID Title XVI
0885 Freedomofinfo. Act 4220 Foreclosure ONES M446 American with 101666 Occupational 10 865 RSI (405
[900 Appeal of Fee Determi- {1 230 Rent Lease & Ejectment C4 “462 “Naturalization Disabilities - Safety fdeaith [REREDERADE
nation Under Equal (1240 Torts to Land Application Other 0690 Other 11870 Taxes (U.S. P
Access to Justice 1245 Tort Product Liability |0463 Habeas Corpus- 17} 449 Other Civil or Defendant)
950 Constituticnality of {£1290 All Other Real Property Alien Detainee Rights 1871 IRS-Third Party 26
State Statutes 0465 Other Immigration USC 7609
Actions
FOR OFFICE USEONLY: — Case Number: G y 0 9 Q 6 { 3 4

 

AFTER COMPLETING THE FRONT SIDE OF FORM CV-71, COMPLETE THE INFORMATION REQUESTED BELOW.

 

CV-71

(05/08)

CIVIL COVER SHEET

Page | of 2
Case 2:09-cv-06734-SJO-RC Document 4 Filed 09/22/09 Page 33 of 34 Page ID #:45

UNITED STATEs DISTRICT COURT, CENTRAL DISTRICT L. CALIFORNIA
CIVIL COVER SHEET

V(a). (IDENTICAL CASES: Bas this action been previously fifed in this court and dismissed, remanded or closed? No Ol Yes
If yes, list case number(s}: :

 

VIM(b). RELATED CASES: Have any cases been previously filed in this court that are related to the present case? No C1 Yes
If yes, list case number(s):

 

Civil cases are deemed related if a previously filed case and the present case:
(Check ail boxes that apply) OA. Arise from the same or closely related transactions, happenings, or events; or
: OB: Call for determination of the same or substantially related or similar questions of law and fact, or
(CC. For other reasons would entail substantial duplication of labor if heard by different judges, or
OD. Involve the same patent, trademark or copyright, and one of the factors identified above in a, b or c also is present.

 

TX. VENUE: (When completing the following information, use an additional sheet if necessary.)

(a) List the County in this District, Califomia County outside of this District: State if other than California; or Foreign Country, in which EACH named plaintiff resides.
© Check here if the government, its agencies or employees is a named plaintiff If this box is checked, go to item (b), ‘

 

County in this District:* California County outside of this District, State, if other than Califomia; or Foreign Country

 

Los Angeles County

 

 

 

(b} List the County in this District, California County outside of this District; State if other than Califomia; or Foreign Country, in which EACH named defendant resides.
Check here if the government, its agencies or employees is a named defendant. If this box is checked, go to item (c).

 

County in this District:* California County outside of this District; State, if other than California; or Foreign Country

 

Los Angeles County

 

 

 

(c) List the County in this District; Califomia County outside of this District; State if other than California; or Foreign Country, in which EACH ciaim arose.
Note: In land condemnation cases, use the location of the tract of land involved.

 

County in this District:* . California County outside of this District; State, if other than Califomia; or Foreign Country

 

Los Angeles County

 

 

 

 

* Los Angeles, Orange, San Bernardino, Riverside, Ventura, Santa Barbara, or San Luis Obispo Counties
Note: in land condemnation cases, use the location of the tract of land involved

 

X. SIGNATURE OF ATTORNEY (OR PRO PER): JE Date Gol &-0 7

Notice to Counsel/Parties: The CV-71 (JS-44) Civil Cover Sheet and the information contained herein neither replace nor supplement the filing and service of pleadings
or other papers as required by law. This form, approved by the Judicial Conference of the United States in September 1974, is required pursuant to Local Rule 3-1 is not filed
but is used by the Clerk of the Court for the purpose of statistics, venue and initiating the civil docket sheet. (For more detailed instructions, see separate instructions sheet.)

 

Key to Statistical codes relating to Social Security Cases:

Nature of Suit Code Abbreviation Substantive Statement of Cause of Action

861 HIA All claims fer health insurance benefits (Medicare) under Title 18, Part A, of the Social Security Act, as amended.
Also, include claims by hospitals, skilled nursing facilities, etc., for certification as providers of services under the
program. (42 U.S.C. 1935FF(b))

862 BL Ail claims for “Black Lung” benefits under Title 4, Part B, of the Federal Coal Mine Health and Safety Act of 1969.
(30 U.S.C. 923}

$63 DIWwe All claims filed by insured workers for disability insurance benefits under Title 2 of the Social Security Act, as
amended; plus all claims filed for child’s insurance benefits based on disability. (42 U.S.C. 405(g))

863 DEWW All claims filed for widows or widowers insurance benefits based on disability under Title 2 of the Social Security
Act, as amended. (42 U.S.C. 405(g))

864 SSID All claims for supplemental security income payments based upon disability filed under Title 16 of the Social Security
Act, as amended.

865 RSI All claims for retirement (old age) and survivors benefits under Title 2 of the Social Security Act, as amended. (42

: U.S.C. (g))

 

-CV-71 (05/08) CIVIL COVER SHEET : . Page 2 of 2

 
oOo fo ~~ Ww tA Se Ww Boo oe

wm bs BO i bo bo BR hb Ree eek ek jr
Co | ON un  °= oO bho co ao Oo oo ~] ON a) a to BO re oS

 

 

Case 2:09-CVv-06 734-SJO-RC Document 4 Filed 09/22/09 Page 34 of 34 Page ID #:46

ATTACHMENT TO CIVIL COVER SHEET

ADDITIONAL ATTORNEY INFORMATION:

Shawna L. Parks (CA Bar No. 208301)
shawna.parks@lls.edu

Debra Patkin (CA Bar No. 252197)
debra.patkin@lls.edu

Matthew D. Strugar (CA Bar No. 232951)
matthew.strugar@lls.edu

DISABILIT HTS LEGAL CENTER
919 Albany Street

Los Angeles, California 90015

Tel: (273) 736-1031; Fax: (213) 736-1428

CYNTHIA ANDERSON-BARKER, (CA Bar No. 175764}§
cablaw@hotmail.com

LAW OFFICES OF CYNTHIA ANDERSON-BARKER -
3435 Wilshire Blvd., Ste 2900, Los Angeles, CA 90010
Tel: (213) 381-3246

Fax: (213) 252-0091

ADDITIONAL DEFENDANT'S

 

MPD OFFICER GARCIA, an individual, DAVID ISHIBASHI, an individual, and
Does I through 10, individuals sued in their individual capacities, inclusive

ADDITIONAL CAUSES OF ACTION

Unruh Civil Rights Act; California Disabled Persons Act, Infliction of Emotional

Distress; Negligence
